            IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                         WESTERN DIVISION

UNITED STATES OF AMERICA,

                         Plaintiff,

     v.                               Case No. 18-00293-01/25-CR-W-DGK

(01) GERALD L. GINNINGS,
[DOB: 01/02/1980],

(02) TREVOR SCOTT SPARKS,
[DOB: 02/09/1989],

(03) MARKUS MICHAEL A. PATTERSON,
[DOB: 12/12/1982],

(04) GLORIA MAY JONES,
[DOB: 8/31/1989],

(05) VICENTE ARAUJO,
[DOB: 9/20/1996],

(06) LESLIE LADON WALKER,
[DOB: 7/2/1987],

(07) DAVID ROBERT RICHARDS II,
[DOB: 10/19/1987],

(08) CHRISTIAN DOUGLAS HANSEN,
[DOB: 04/14/1979],

(09) STEPHANIE THURMOND,
[DOB: 11/2/1990],

(10) LEEANNA MICHELLE SCHROEDER,
[DOB: 6/4/1993],

(11) ADAM JOSEPH MAINIERI,
[DOB: 3/1/1988],




      Case 4:18-cr-00293-DGK Document 290 Filed 07/27/20 Page 1 of 5
(12) PAUL J. KIBODEAUX,
[DOB: 4/22/1983],

(13) KOURTNEY JAYNE MEYERS,
[DOB: 01/16/1989],

(14) CORY TAZ-DALTON HACK,
[DOB: 06/26/1995],

(15) RORY DALE BECHTEL,
[DOB: 04/14/1983],

(16) PHILLIP TRA JOSEPH HOYT,
[DOB: 08/12/1976],

(17) BOBBIE LYNN KING,
[DOB: 07/05/1969],

(18) LOGAN TANNER LAWS,
[DOB: 10/09/1991],

(19) KENNETH JAMES MCCLURE,
[DOB: 02/09/1979],

(20) MARION DOUGLAS MCCROREY JR.,
[DOB: 10/05/1979],

(21) PATRICIA GAIL NELSON, AKA
MCCOLLUM, AKA “MAMA PAT,”
[DOB: 06/21/1960],

(22) CHRISTAPHER DEAN PARTON,
[DOB: 04/25/1989],

(23) CHRISTOPHER BRIAN ROGAN,
[DOB: 01/21/1976],

(24) AMANDA LEIGH WATSON,
[DOB: 05/09/1987],

(25) MICHAEL GLEN ZIEGER, AKA
ZIEGLER, AKA “LEE SUMMIT MIKE,”
[DOB: 08/25/1976],
                      Defendants.




                                    2

      Case 4:18-cr-00293-DGK Document 290 Filed 07/27/20 Page 2 of 5
                      MOTION OF THE UNITED STATES FOR A
                    PRETRIAL DETENTION HEARING PURSUANT
                 TO TITLE 18, UNITED STATES CODE, SECTION 3142(f)

         Comes now the United States of America, by Timothy A. Garrison, United States Attorney,

and the undersigned Assistant United States Attorney, both for the Western District of Missouri,

and hereby moves the Court to detain defendant without bail pending trial of this matter and to

hold a hearing pursuant to Title 18, United States Code, Section 3142(f) for the purpose of

demonstrating that no condition or combination of conditions of release will reasonably assure the

defendant’s appearance as required by the Court and the safety of other persons and the

community.

                                SUPPORTING SUGGESTIONS

         I. Subsection 3142(f), Title 18, United States Code, provides that a hearing must be held

by the appropriate judicial officer to determine whether any condition or combination of conditions

will reasonably assure the defendant’s appearance and the safety of any other person in the

community if the attorney for the government moves for such a hearing and if the case is in any

one of the following categories:

         A. The case involves a crime of violence, a term defined to include either:

                       1. An offense that has as an element the use, attempted use, or threatened

                use of physical force against the person or property of another; or

                       2. Any other offense that is a felony and by its nature involves a substantial

                risk that physical force against the person or property of another may be used in the

                course of its commission.

         B. The case involves an offense where the maximum sentence is life imprisonment or

death.



                                                  3

          Case 4:18-cr-00293-DGK Document 290 Filed 07/27/20 Page 3 of 5
        C.     The case is a narcotics case under Title 21, United States Code, for which

imprisonment for ten years or more is prescribed.

        D. Any felony, even a nonviolent felony not involving drugs, if the person already has

two or more convictions for a crime of violence, a crime punishable by life imprisonment, or a ten

year drug felony.

        E. Any felony that is not otherwise a crime of violence that involves a minor victim or

that involves the possession or use of a firearm or destructive device (as those terms are defined in

section 921), or any other dangerous weapon, or involves a failure to register under section 2250

of title 18, United States Code.

        II. The statute recognizes two additional situations which allow for a detention hearing

and which can be raised either by the attorney for the government or by a judicial officer. These

conditions are:

        A. When there is a serious risk that the defendant will flee; or

        B. When there is a serious risk that the person will “obstruct or attempt to obstruct justice,

or threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate, a prospective witness

or juror.”

        III. One or more grounds for a pretrial detention hearing as set forth by the statute exists

in the above cause.

                                                         Respectfully submitted,

                                                         Timothy A. Garrison
                                                         United States Attorney

                                                By       /s/ Bruce Rhoades

                                                         Bruce Rhoades
                                                         Assistant United States Attorney
                                                         Narcotics & Violent Crimes Unit


                                                     4

             Case 4:18-cr-00293-DGK Document 290 Filed 07/27/20 Page 4 of 5
                                                  Charles Evans Whittaker Courthouse
                                                  400 East Ninth Street, Suite 5510
                                                  Kansas City, Missouri 64106
                                                  Telephone: (816) 426-3122


                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was delivered on July 27,
2020, to the Electronic Filing System (CM/ECF) of the United States District Court for the
Western District of Missouri for electronic delivery to all counsel of record.


                                                  /s/ Bruce Rhoades
                                                  Bruce Rhoades
                                                  Assistant United States Attorney




                                              5

        Case 4:18-cr-00293-DGK Document 290 Filed 07/27/20 Page 5 of 5
